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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION


BEATRICE COOMER, TARIN COX,
LINDSEY CULVER, BRITTANY DAVEY,
TINA EDWARDS, ALISHA GARCIA,
BRITTANY GREGORY, DEJONAE HAWKINS,
COURTNEY HUFF, ROXANNE HUMPHREY,
JESSICA JAGGER, MARY JOHNSON,
ASHLEY LAMES, JULIE LAWSON,
TABATHA RUDOLPH, ASHLEY SANTIAGO,
APRIL SNYDER, AMANDA WATERS,
VICTORIA WIMP, and CARRIE WISEMAN
      Plaintiffs,


       V.
                                                  CASE NO. 4:22-cv-00079-TWP-DML
                                                  JURY TRIAL DEMANDED


JAMIE NOEL, in his individual
and official capacity as Clark County Sheriff,
DAVID LOWE, and
UNNAMED OFFICERS OF THE CLARK
COUNTY SHERIFF’S DEPARTMENT,
in their individual and official capacities
         Defendants.

                              SUMMONS IN A CIVIL ACTION

To:    Clark County Sheriff’s Department
       501 East Court Ave. #159
       Jeffersonville, Indiana 47130

       A lawsuit had been filed against you. Within 21 days after service of this
summons on you (not counting the day you received it) or 60 days if you are a
United States agency, or an officer or employee of the United States as
described in Fed. R. Civ. P. 129(a)(2) or (3) you must serve on the plaintiff am
answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff
or plaintiff’s attorney, whose name and addresses are:
Case 4:22-cv-00079-TWP-DML Document 8 Filed 06/22/22 Page 2 of 2 PageID #: 49




      Bart Betteau                                William P. McCall III
      Betteau Law Office                          332 Spring Street
      1212 State Street                           Jeffersonville, IN 47130
      New Albany, Indiana 47150

       If you fail to respond, judgment by default will be entered against you for
the relief demanded in the complaint. You also must file your answer or motion
within the Court.

                                            Clark of Court


Date: _June 22, 2022_____                   __________________________________
                                            Signature of Clark or Deputy Clark
